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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                     x
                                     :
                                     :   Consolidated Case No. 1:16-cv-06593 (JSR)
In re: AMLA LITIGATION               :
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                                     :
                                     :
                                     :
                                     x


    DECLARATION OF ROSEMARY M. RIVAS IN SUPPORT OF PLAINTIFFS’
      MOTION FOR CLASS CERTIFICATION, APPOINTMENT OF CLASS
       REPRESENTATIVES, AND APPOINTMENT OF CLASS COUNSEL
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        I, Rosemary M. Rivas, declare as follows:

        1.     I am an attorney licensed to practice in the State of California and am admitted pro

hac vice in this action. I am a partner with the law firm of Levi & Korsinsky LLP, one of the firms

appointed Interim Counsel for Plaintiffs. I make this declaration in support of Plaintiffs’ Motion

for Class Certification, Appointment of Class Representatives, and Appointment of Class Counsel.

I have personal knowledge of the facts set forth in this declaration, and if called to testify thereto,

I could and would competently testify thereto under oath.

        2.     Attached hereto as Exhibit No. 1 are true and correct copies of consumer reviews

from Amazon.com regarding the Softsheen Carson Optimum Amla Legend Relaxer, which my

firm retrieved on July 3, 2017 from Amazon.com.

        3.     Attached hereto as Exhibit No. 2 are true and correct copies of L’Oreal USA

Consumer Care Center Case Details, produced by Defendants.

        4.     Attached hereto as Exhibit No. 3 is a true and correct copy of excerpts from a

document produced by Defendants titled, “Amla Early Trier Study Final Report,” dated November

2013.

        5.     Attached hereto as Exhibit No. 4 is a true and correct copy of an email chain

produced by Defendants between K. Smith, E. Devincenzo, L. Raoust, and C. Bosse and dated

January 22, 2014 to January 27, 2014 regarding Amla Relaxer Consumer Issues.

        6.     Attached hereto as Exhibit No. 5 is a true and correct copy of an email chain

produced by Defendants between K. Smith, E. Devincenzo, L. Raoust, and C. Bosse and dated

February 28, 2014 and March 3, 2014 regarding Amla Relaxer Consumer Issues.




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        7.      Attached hereto as Exhibit No. 6 is a true and correct copy of a document produced

by Defendants titled, “SoftSheen Carson APR 2014 Lab Meeting Minutes,” and dated April 10,

2014.

        8.      Attached hereto as Exhibit No. 7 is a true and correct copy of the Declaration of

Jasmine Hervey, a proposed Plaintiff and Class Representative, in Support of Plaintiffs’ Motion

for Class Certification, Appointment of Class Representatives, and Appointment of Class Counsel.

        9.      Attached hereto as Exhibit No. 8 is a true and correct copy of a chart showing the

privity requirements for the states for which Plaintiffs seek certification of breach of express

warranty claims.

        10.     Attached hereto as Exhibit No. 9 is a true and correct copy of an email chain

produced by Defendants between K. Smith, E. Devincenzo, L. Raoust, C. Bosse, and M. Sweeny

and dated October 24, 2014 to January 27, 2015 regarding Year End 2014 Executive Report –

Alma Relaxer.

        11.     Attached hereto as Exhibit No. 10 is a true and correct copy of an email chain

produced by Defendants dated September 15, 2016.

        12.     Attached hereto as Exhibit No. 11 is a true and correct copy of an email chain

produced by Defendants dated July 1, 2015.


        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed August 11, 2017, in San Francisco, California.


                                                            s/ Rosemary M. Rivas
                                                            Rosemary M. Rivas




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